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   *******************                         *
   TODD W. AL TSCHUL,                          *
                                               *
                    Plaintiff,                 *
                                               *
   v.                                          * No. 19-1238C
                                               * Filed: December 13, 2019
   UNITED STATES,
                                               *
                    Defendant.                 *
                                               *
                                               *
   *    ******************


                                       ORDER


        On August 19, 2019, pro se plaintiff Todd. W. Altschul filed a complaint in the
United States Court of Federal Claims seeking compensation for his alleged unjust
conviction pursuant to 28 U.S.C. § 1495 (2012). Plaintiff alleged new evidence was found
in relation to his May 21, 1994 conviction for mailing threatening communications. As a
result, plaintiff alleges his conviction in Case No. 1:93-CR-45-C was vacated by an order
vacating judgment and a Certificate of Innocence, both signed by Senior Judge Sam R.
Cummings of the United States District Court for the Northern District of Texas. The
plaintiff included the purported order vacating judgment and the Certificate of Innocence
signed by Judge Cummings as exhibits to his complaint. The order vacating judgment
and the Certificate of Innocence stated:




                                                         7018 2290 0000 5183 2820
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              IN THE UNITED STATES DISTRICT COURT

                   NORTHERN DISTRICT OF TEXAS

                           ABILENE DIVISION

UNITED STATES OF AMERICA                §

vs.                                     § CRIMINAL NO. 1 :93-CR-45-C

TODD W. AL TSCHUL                       §

                                 ORDER

       Movant Todd W. Altschul, proceeding pro se, filed this motion to
vacate, set aside, or correct a federal sentence pursuant to 28 U.S.C.§
2255.

      Movant plead guilty to one count of mailing threatening
communications 18 U.S.C.§ 876 and on may 21, 1994 was sentenced to
serve sixty (60) months imprisonment in the Federal Bureau of Prisons to
run consecutive to undischarged state terms of imprisonment.

       A DNA forensic test, was conducted by the Department of Justice
(CODIS #147508) on the envelope the threat was mailed in and affirms that
their was a 1 in 800,000,000 chance that the DNA from the seal of the
envelope belonged to the movant.

       A forensic document examiner from the Department of Homeland
Security has certified that the movant is not the author of the handwriting
printed on the envelope and paper that the threat was communicated on.

       After considering and reviewing this newly discovered evidence, this
Court finds that the movant did not commit this offense and is innocent.

       It is, therefore ORDERED that the movants motion to vacate, set
aside, or correct a federal sentence is GRANTED.

Signed this the 6th day of August, 2019.


                                        SAM R. CUMMINGS
                                        SENIOR JUDGE
                                        UNITED STATES DISTRICT JUDGE



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               IN THE UNITED STATES DISTRICT COURT

                    NORTHERN DISTRICT OF TEXAS

                            ABILENE DIVISION

UNITED STATES OF AMERICA                  §

vs.                                       § CRIMINAL NO. 1 :93-CR-45-C

TODD W. ALTSCHUL                          §

                     CERTIFICATE OF INNOCENCE

      Pending before the Court is movants motion to declare defendant
innocent [docket entry no. 41].

       This Court granted movants motion to vacate, set aside, or correct
a federal sentence and vacated the sentence.

      For the reasons stated in this Courts order [docket entry no. 42], this
Court declares the movant innocent of the offense of mailing threatening
communications 18 U.S.C.§ 876 for which he was convicted of in this Court
on May 21, 1994 in United States of American Vs. Todd W. Altschul,
Criminal No. 1:93-CR-45-C USDC ND TEX ..

     It is ORDERED, ADJUDGED AND DECREED, that the movant is
INNOCENT of the said convicted offense that has now been VACATED.



       SIGNED THIS THE 6TH. DAY OF AUGUST, 2019.



                                          SAM R. CUMMINGS
                                          SENIOR JUDGE
                                          UNITED STATES DISTRICT JUDGE




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        On August 19, 2019, plaintiff requested leave to proceed in forma pauperis. This
court denied plaintiff's request to proceed in forma pauperis on September 6, 2019, 1 and
also informed plaintiff that he must submit court-certified copies of the order vacating
judgment and Certificate of Innocence for the above-captioned case to proceed on the
merits. On September 20, 2019, plaintiff submitted a revised request to proceed in forma
pauperis. On September 23, 2019, plaintiff filed a motion for an extension of time until
October 22, 2019 to file court-certified copies of the alleged order vacating judgment and
Certificate of Innocence. This court granted plaintiff's motion on October 9, 2019
instructing plaintiff to file the required documents by October 22, 2019, however, plaintiff
did not submit court-certified copies of the order vacating judgment or the Certificate of
Innocence by the ordered deadline. Defendant filed its motion to dismiss on October 21,
2019. As of December 10, 2019, plaintiff has not submitted court-certified copies of the
order vacating judgment or Certificate of Innocence, nor has plaintiff filed a response to
defendant's motion to dismiss. 2
        In its motion to dismiss, defendant argues plaintiff has "a history of filing fraudulent
documents and meritless suits." Defendant points to sanctions imposed on plaintiff by the
United States District Court for the Southern District of Texas, the United States District
Court for the Northern District of Texas, and the United States Court of Appeals for the
Fifth Circuit for filing fraudulent documents, frivolous complaints, and meritless suits.
Defendant asserts plaintiff's alleged order vacating judgment and Certificate of Innocence
filed along with plaintiff's complaint on August 19, 2019 are forged. Defendant identifies
multiple typographical, spelling, and grammatical errors within plaintiff's alleged order
vacating judgment and Certificate of Innocence, including missing apostrophes and
incorrect capitalization, as well as what appear to be forged signatures of Senior Judge
Sam R. Cummings of the United States District Court for the Northern District of Texas
and Marsha Elliott, the Deputy-in-Charge. Defendant's motion to dismiss includes orders
from the United States District Court for the Northern District of Texas, United States
District Court for the Southern District of Texas, and United States Court of Appeals for
the Fifth Circuit documenting plaintiff's conduct and imposing of sanctions.
       Defendant also cites to a July 2, 1997 Order in which the Fifth Circuit stated plaintiff
altered letters from the United States Supreme Court to change denials of certiorari to


1 As the court explained in the September 6, 2019 Order denying plaintiff's motion to
proceed in forma pauperis, without a certified copy of his prison account, as required by
28 U.S.C. § 1915, and of the alleged lien against plaintiff's prison account, this court was
unable to assess plaintiff's financial situation in order to decide whether plaintiff did or did
not possess sufficient funds to pay the required filing fee.

2 The court notes that on October 25, 2019, plaintiff filed a change of address with the
court. The Clerk's Office mailed copies of the court's October 7, 2019 Order and
defendant's October 23, 2019 motion to dismiss to plaintiff's new address, but the mailing
was returned as undeliverable. The Clerk's Office, on November 13, 2019, also mailed
the copies of the court's October 7, 2019 Order and defendant's October 23, 2019 motion
to dismiss to plaintiff's prior address, however, that mailing similarly was returned to the
Clerk's Office as undeliverable because plaintiff no longer lived at that address.
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grants of certiorari. The Fifth Circuit ordered plaintiff to obtain judicial permission prior to
making any future filing in the Fifth Circuit or any court subject to its jurisdiction. In an
August 22, 2001 order, Judge Cummings sanctioned plaintiff with a $1,000.00 monetary
sanction and barred plaintiff from filing any action in the Northern District of Texas
because plaintiff had forged documents using Judge Cummings's signature in an attempt
to reduce his prison sentence. On February 15, 2005, Judge Samuel B. Kent of the United
States District Court for the Southern District of Texas imposed a $2,500.00 sanction on
plaintiff for filing a forged affidavit for his Petition for a Writ of Habeas Corpus. On August
25, 2006, the Fifth Circuit denied plaintiff's "Motion for Permission to Proceed after
Sanction" for a petition pursuant to 28 U.S.C. § 2254 in the United States District Court
for the Eastern District of Texas as the petition mirrored plaintiff's petitions in previous
years that included forged documents, were meritless, were frivolous, and for which
plaintiff was sanctioned. On November 19, 2014, Judge Kenneth M. Hoyt of the United
States District Court for the Southern District of Texas sanctioned plaintiff with a
$1,000.00 monetary sanction and barred plaintiff from filing anything further in the
Southern District of Texas as plaintiff had not yet paid any of the earlier sanction fees. On
May 5, 2015, the Fifth Circuit denied plaintiff's "Motion for Permission to Proceed after
Sanction" for a mandamus petition challenging the 1997 and 2014 sanctions, noting that
plaintiff's "persistence in filing fraudulent documents and repetitive, meritless suits." The
Fifth Circuit warned plaintiff that "the filing of additional vexatious, fraudulent, or meritless
items in this court or any other court subject to this court's jurisdiction will subject him
[plaintiff] to additional and progressively more severe sanctions."
         The court recognizes that plaintiff is proceeding prose. When determining whether
a complaint filed by a pro se plaintiff is sufficient to invoke review by a court, a pro se
plaintiff is entitled to a more liberal construction of the pro se plaintiff's pleadings. See
Haines v. Kerner, 404 U.S. 519, 520-21 (requiring that allegations contained in a pro se
complaint be held to "less stringent standards than formal pleadings drafted by lawyers"),
reh'g denied, 405 U.S. 948 (1972); see also Erickson v. Pardus, 551 U.S. 89, 94 (2007);
Hughes v. Rowe, 449 U.S. 5, 9-10 (1980); Estelle v. Gamble, 429 U.S. 97, 106 (1976),
reh'g denied, 429 U.S. 1066 (1977); Matthews v. United States, 750 F.3d 1320, 1322
(Fed. Cir. 2014); Diamond v. United States, 115 Fed. Cl. 516, 524 (2014), aff'd, 603 F.
App'x 947 (Fed. Cir.), cert. denied, 135 S. Ct. 1909 (2015). However, "there is no 'duty
[on the part] of the trial court ... to create a claim which [plaintiff] has not spelled out in
his [or her] pleading . . . . "' Lengen v. United States, 100 Fed. Cl. 317, 328 (2011)
(alterations in original) (quoting Scogin v. United States, 33 Fed. Cl. 285, 293 (1995)
(quoting Clark v. Nat'! Travelers Life Ins. Co., 518 F.2d 1167, 1169 (6th Cir. 1975))); see
also Bussie v. United States, 96 Fed. Cl. 89, 94, aff'd, 443 F. App'x 542 (Fed. Cir. 2011);
Minehan v. United States, 75 Fed. Cl. 249, 253 (2007). "While a prose plaintiff is held to
a less stringent standard than that of a plaintiff represented by an attorney, the QIQ. se
plaintiff, nevertheless, bears the burden of establishing the Court's jurisdiction by a
preponderance of the evidence." Riles v. United States, 93 Fed. Cl. 163, 165 (2010)
(citing Hughes v. Rowe, 449 U.S. at 9; and Taylor v. United States, 303 F.3d 1357, 1359
(Fed. Cir.), reh'g and reh'g en bane denied (Fed. Cir. 2002)); see also Golden v. United
States, 129 Fed. Cl. 630, 637 (2016); Shelkofsky v. United States, 119 Fed. Cl. 133, 139
(2014) ("[W]hile the court may excuse ambiguities in a pro se plaintiff's complaint, the
court 'does not excuse [a complaint's] failures."' (quoting Henke v. United States, 60 F.3d

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795, 799 (Fed. Cir. 1995))); Harris v. United States, 113 Fed. Cl. 290, 292 (2013)
("Although plaintiff's pleadings are held to a less stringent standard, such leniency 'with
respect to mere formalities does not relieve the burden to meet jurisdictional
requirements."' (quoting Minehan v. United States, 75 Fed. Cl. at 253)).
         When deciding a case based on a failure to state a claim, the court "must accept
as true the factual allegations in the complaint." Engage Learning, Inc. v. Salazar, 660
F.3d 1346, 1355 (Fed. Cir. 2011); see also Erickson v. Pardus, 551 U.S. 89, 94 (2007)
("In addition, when ruling on a defendant's motion to dismiss, a judge must accept as true
all of the factual allegations contained in the complaint." (citing Bell Atl. Corp. v. Twombly.
550 U.S. at 555-56 (citing Swierkiewicz v. Sorema N. A., 534 U.S. at 508 n.1))); Scheuer
v. Rhodes, 416 U.S. at 236 ("Moreover, it is well established that, in passing on a motion
to dismiss, whether on the ground of lack of jurisdiction over the subject matter or for
failure to state a cause of action, the allegations of the complaint should be construed
favorably to the pleader."), abrogated on other grounds Q.Y Harlow v. Fitzgerald, 457 U.S.
800 (1982), recognized Q.Y Davis v. Scherer, 468 U.S. 183, 190 (1984); Harris v. United
States, 868 F.3d 1376, 1379 (Fed. Cir. 2017) (citing Call Henry, Inc. v. United States, 855
F.3d 1348, 1354 (Fed. Cir. 2017)); United Pac. Ins. Co. v. United States, 464 F.3d 1325,
1327-28 (Fed. Cir. 2006); Samish Indian Nation v. United States, 419 F.3d 1355, 1364
(Fed. Cir. 2005); Boise Cascade Corp. v. United States, 296 F.3d 1339, 1343 (Fed. Cir.),
reh'g and reh'g en bane denied (Fed. Cir. 2002), cert. denied, 538 U.S. 906 (2003).
        Pursuant to 28 U.S.C. § 1495 (2012), "[t]he United States Court of Federal Claims
shall have jurisdiction to render judgment upon any claim for damages by any person
 unjustly convicted of an offense against the United States and imprisoned." 28 U.S.C.
§ 1495. In Humphrey v. United States, a Judge of the United States Court of Federal
Claims stated that Section 1495 of Title 28, "must be read in conjunction with 28 U.S.C.
§ 2513." Humphrey v. United States, 52 Fed. Cl. 593, 596 (2002), aff'd, 60 F. App'x 292
(Fed. Cir. 2003) (citations omitted); see also Babcock v. United States, 142 Fed. Cl. 612,
616 (2019); Abu-Shawish v. United States, 120 Fed. Cl. 812,813 (2015) ("To establish
jurisdiction, however, a plaintiff seeking compensation under Section 1495 must also
meet the requirements of 28 U.S.C. § 2513(a)(1)."). The statute at 28 U.S.C. § 2513
(2012) states:

       (a) Any person suing under section 1495 of this title must allege and prove
           that:

              (1) His conviction has been reversed or set aside on the
              ground that he is not guilty of the offense of which he was
              convicted, or on new trial or rehearing he was found not guilty
              of such offense, as appears from the record or certificate of
              the court setting aside or reversing such conviction, or that he
              has been pardoned upon the stated ground of innocence and
              unjust conviction and

              (2) He did not commit any of the acts charged or his acts,
              deeds, or omissions in connection with such charge
              constituted no offense against the United States, or any State,

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              Territory or the District of Columbia, and he did not by
              misconduct or neglect cause or bring about his own
              prosecution.

       (b) Proof of the requisite facts shall be by a certificate of the court or pardon
           wherein such facts are alleged to appear, and other evidence thereof
           shall not be received.

       (c) No pardon or certified copy of a pardon shall be considered by the
           United States Court of Federal Claims unless it contains recitals that the
           pardon was granted after applicant had exhausted all recourse to the
           courts and that the time for any court to exercise its jurisdiction had
           expired.

       (d) The Court may permit the plaintiff to prosecute such action in forma
           pauperis.

       (e) The amount of damages awarded shall not exceed $100,000 for each
           12-month period of incarceration for any plaintiff who was unjustly
           sentenced to death and $50,000 for each 12-month period of
           incarceration for any other plaintiff.

28 U.S.C. § 2513 (emphasis in original); see also Babcock v. United States, 142 Fed. Cl.
at 616; Abu-Shawish v. United States, 120 Fed. Cl. at 813 ("[l]n order for this court to
have jurisdiction, a plaintiff must obtain a certificate of innocence from the district court
which states that not only was he not guilty of the crime of conviction, but also that none
of his acts related to the charged crime were other crimes."); Carpenter v. United States,
118 Fed. Cl. 712, 713 (2014) ("Jurisdiction conferred by Section 1495 is limited to a
plaintiff who proves that his conviction has been reversed or set aside on the grounds
that he is not guilty ... or that he has been pardoned."), aff'd, 603 F. App'x 935 (Fed.
Cir. 2015). In Humphrey, a judge of the United States Court of Federal Claims indicated
that the jurisdictional requirements of 28 U.S.C. § 1495 and 28 U.S.C. § 2513 "are strictly
construed, and a heavy burden is placed upon a claimant seeking relief under such
provisions." Humphrey v. United States, 52 Fed. Cl. at 596; see also Babka v. United
States, 133 Fed. Cl. 405, 409 (2017) (dismissing plaintiff's unjust conviction and
imprisonment claim because he failed to allege or establish obtaining a certificate of
innocence or receiving a pardon); Wood v. United States, 91 Fed. Cl. 569, 577 (2009)
(holding that compliance with 28 U.S.C. § 2513, including submission of a certificate of
innocence from the federal district court, is a prerequisite to the jurisdiction of the Court
of Federal Claims). Additionally, as noted in Sykes v. United States, 105 Fed. Cl. 231
(2012), "a certificate or pardon must 'either explicitly or by factual recitation' state that the
plaintiff has satisfied the requirements of Section 2513." jg.,_ at 233 (quoting Humphrey v.
United States, 52 Fed. Cl. at 597).

       As noted above, the unjust conviction statute provides recourse to United States
citizens who have been wrongfully convicted of crimes against the United States and
imprisoned as a result. See 28 U.S.C. § 2513. As the Judge in Humphrey explained:

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       The purpose of the unjust conviction statutes is to partially right an
       irreparable wrong done to a United States citizen who was wrongfully
       imprisoned. However, the legislative history indicates that Congress did not
       intend to indemnify every imprisoned person whose conviction has been set
       aside. Consequently, Congress attempted to accomplish this goal by
       requiring a plaintiff to obtain a certificate from the appropriate court or a
       pardon, specifically reciting the requirements of 28 U.S.C. § 2513.

Humphrey v. United States, 52 Fed. Cl. at 597 (citations omitted). As indicated, at a
minimum, plaintiff must demonstrate that his sentence under 18 U.S.C. § 924(e) (2012)
was vacated on the grounds that he should not have been sentenced pursuant to the
provisions of 18 U.S.C. § 924(e) and he must provide a court-certified certificate of
innocence from the United States District Court for the Northern District of Texas, or an
official pardon, pursuant to 28 U.S.C. § 2513.

       While the document need not be titled a "certificate of innocence," it must
       substantively provide: (1) that plaintiff's conviction has been reversed or
       vacated on the grounds that he was not guilty of the offense for which he
       was convicted; (2) that plaintiff did not commit any of the acts charged or
       that his actions or omissions in connection with such charge constituted no
       offense against the United States or any state, territory, or the District of
       Columbia; and (3) that plaintiff did not bring about his own prosecution by
       neglect or misconduct.

Wood v. United States, 91 Fed. Cl. at 578 (citations omitted).

        In the above-captioned case, plaintiff has not filed court-certified copies of the
alleged order to vacate judgment or the Certificate of Innocence as required by this court.
Moreover, plaintiff has not provided any genuine information that corroborates his claims
that his conviction was vacated. Plaintiff's filed documents purporting to be an order
vacating judgment and Certificate of Innocence contain errors, including formatting errors,
that support a conclusion that the documents were forged. The errors include, but are not
limited to, an omission of a space following United States Code citations: "pursuant to 28
U.S.C.§ 2255," "18 U.S.C.§ 876," "[a] DNA forensic test was conducted by the
Department of Justice ... affirms that their [sic] was a 1 in 800,000,000 chance," "may
[sic] 21, 1994 was sentenced to serve," "[i]t is, therefore ORDERED that the movants [sic]
motion to vacate, set aside, or correct a federal sentence is GRANTED (capitalization
and emphasis in original)," "[p]ending before the Court is movants [sic] motion to declare
defendant innocent," "[f]or the reasons stated in this Courts [sic] order," among others.
Additionally, the capitalization at the top of the pages documenting the electronic case file
data is inconsistent. The purported order to vacate states "Page 1 of 3," "Page 2 Of 3,"
and "Page 3 of 3."
      Additionally, plaintiff's alleged order vacating judgment purports to be Document
No. 42 in the docket for Case No. 1:93-CR-45-C in the United States District Court for the
Northern District of Texas. Upon this court's examination, Docket No. 42 in Case No.
1:93-CR-45-C are August 5, 1996 objections by plaintiff to defendant's response to
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plaintiff's motion to vacate. Docket No. 42 is not what plaintiff alleges, an Order vacating
judgment. Plaintiff also alleges the filed Certificate of Innocence is Document 43 in the
docket for Case 1:93-CR-45-C. Docket No. 43 in Case 1:93-CR-45-C is plaintiff's
response to defendant's answer for the aforementioned motion to vacate on August 5,
 1996. Plaintiff alleges in the filed "Certificate of Innocence" that plaintiff moved for a
declaration of innocence in Docket No. 41. Docket No. 41 in Case No. 1:93-CR-45-C is a
July 29, 1996 response by defendant to plaintiff's motion to vacate judgment. Plaintiff
alleges the Order vacating judgment and Certificate of Innocence were filed on August 6,
2019. If plaintiff's allegation was true, the docket numbers for the purported order vacating
judgment and Certificate of Innocence would be 78 and 79. Document 78 and document
79, however, do not exist on the United States District Court for the Northern District of
Texas' electronic docket. Furthermore, Docket No. 71 on August 22, 2001, corresponding
to Judge Cummings's order denying plaintiff's motion to vacate judgment, explicitly states
ALTSCHUL IS BARRED FROM FILING ANY ADDITIONAL MOTIONS, PLEADINGS,
AFFIDAVITS, DOCUMENTS, EXHIBITS, OR NEW CASES (WHETHER HABEAS OR
OTHER CIVIL) IN THIS COURT AND FROM FILING ANY CIVIL ACTION IN ANY
OTHER COURT THAT IS REMVOABLE OR TRANSFERABLE TO THIS COURT."
(capitalizations in original). As the docket entries do not exist in the case, plaintiff is
alleging his conviction was vacated and because plaintiff failed to adhere to the ordered
deadline to file court-certified copies of the order vacating judgment and Certificate of
Innocence in this court, it is apparent that no order vacating judgment or Certificate of
Innocence concerning plaintiff's conviction exist and plaintiff's filed documents purporting
to be such are fraudulent.
         Based on this court's analysis of plaintiff's filings and the docket associated with
Case No. 1:93-CR-45-C in the District Court for the Northern District of Texas, it is
apparent that plaintiff filed fraudulent documentation in an attempt to unjustly seek
compensation for a conviction that was never vacated. Additionally, this court notes
plaintiff's claimed $4,500.00 hold on his prison trust account filed with his request to
proceed in forma pauperis appears to constitute the sum of the sanctions imposed by the
Northern and Southern Districts of Texas on plaintiff for filing fraudulent documentation
and frivolous suits. As a result, plaintiff does not meet the standard for showing an unjust
conviction or a cognizable claim and his complaint must be dismissed.
       Therefore, for the reasons discussed above, defendant's motion to dismiss is
GRANTED and plaintiff's complaint is DISMISSED. Plaintiff's request to proceed in forma
pauperis is dismissed as MOOT. A copy of this Order shall also be sent to the plaintiff at
his last known address and to his previous address in this court's records. The Clerk of
the Court also is directed to mail a certified copy of this Order to the Clerk of the Court for
the United States District Court for the Northern, Southern, Eastern, and Western Districts
of Texas, and to the United States Court of Appeals for the Fifth Circuit.

       IT IS SO ORDERED.

                                                            //4,ud~
                                                        -MARIAN BLANK HORN
                                                                   Judge

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